          Case 3:12-cv-00704-SDD-RLB            Document 19-1       10/10/13 Page 1 of 7




                             UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

                                     STATE OF LOUISIANA

   CHAD BLACKARD                                                  CIVIL ACTION 12-704

   VERSUS



   LIVINGSTON PARISH SEWER DISTRICT                               STATE OF LOUISIANA


                  MEMORANDUM IN SUPPORT OF CHAD BLACKARD’S
                         MOTION FOR NEW TRIAL




          NOW INTO COURT, through undersigned counsel, comes plaintiff Chad Blackard,

who respectfully files his Memorandum in Support of his Motion for New Trial pursuant to

FRCP Rule 59.

          Failure to Accommodate

          Blackard’s discrimination claim falls under the accommodation provisions of the

ADA. Whenever an employee requests an accommodation, an employer is required to

accommodate the employee or enter into an interactive process to discuss possible

accommodations. As stated in plaintiff’s Opposition, the burden shifting test does not apply

when plaintiff proves a prima facie case of failure to accommodate, but instead a direct

violation of the ADA will have been established. Davis v. City of Grapevine, 188 S.W.3d at

758 (citing Bultemeyer v. Fort Wayne Cmty. Schools, 100 F.3d 1281, 1283 - 84 (7th Cir.

1996)).

          Accordingly, for Plaintiff to establish a prima facie case of discrimination based on
         Case 3:12-cv-00704-SDD-RLB            Document 19-1       10/10/13 Page 2 of 7



Defendant’s failure to provide a reasonable accommodation, he must show: (1) that he is an

individual who has a disability within the meaning of the ADA; (2) that Defendant is covered

by the ADA and had notice of his disability; (3) that with reasonable accommodation he

could perform the essential functions of his position or another available position within the

company; and (4) that Defendant refused to make such accommodation. Davis v. City of

Grapevine, 188 S.W.3d 748, 758 (citing Rhoads v. F.D.I.C., 257 F.3d 373, 387 (4th Cir.

2001).

         However, in the Court’s ruling, it never addresses plaintiff’s accommodation claim

and only addresses the burden shifting test. Moreover, the Court states that “Defendant

moves for summary judgment arguing that the Plaintiff is not “disabled” for purposes of the

ADA, that it granted a reasonable accommodation to Plaintiff by removing him from on call

night duty. With all due respect to the Court, nowhere in Defendant’s argument does it

contend that it made a reasonable accommodation. In fact, the only mentioning of an

accommodation in Defendant’s argument is that “allowing employees to come into work

whenever they please would be an undue hardship.”

         Even if defendant would have made the argument that it offered a reasonable

accommodation to plaintiff, this is a factual dispute that is not proper for summary judgment.

Moreover, this is contradictory whereas defendant claims it never regarded plaintiff as being

disabled, but nevertheless somehow granted him an accommodation.

         Qualified Disability

         The Court also ruled that plaintiff did not have a qualified disability under the ADA.

The Court cites Toyota Motor Mfg. Ky., Inc. v. Williams and Carter v. Ridge (quoting

Toyota) as a basis for its ruling. However, this is no longer good law as of 2008 when the
           Case 3:12-cv-00704-SDD-RLB          Document 19-1     10/10/13 Page 3 of 7



ADA was amended. In fact, all of the cases cited in the Court’s ruling in support of whether

or not plaintiff was disabled were decided prior to 2008.

           The ADA’s actual language after 2008 is as follows:

Sec. 12101 note: Findings and Purposes of ADA Amendments Act of 2008, Pub. L. 110-325,

Â§ 2, Sept. 25, 2008, 122 Stat. 3553, provided that:

(a) Findings

Congress finds that-

(1) in enacting the Americans with Disabilities Act of 1990 (ADA), Congress intended that

the Act "provide a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities" and provide broad coverage;

........

(5) the holding of the Supreme Court in Toyota Motor Manufacturing, Kentucky, Inc.

v. Williams, 534 U.S. 184 (2002) further narrowed the broad scope of protection

intended to be afforded by the ADA;



(6) as a result of these Supreme Court cases, lower courts have incorrectly found in

individual cases that people with a range of substantially limiting impairments are not

people with disabilities;



(7) in particular, the Supreme Court, in the case of Toyota Motor Manufacturing,

Kentucky, Inc. v. Williams, 534 U.S. 184 (2002), interpreted the term "substantially

limits" to require a greater degree of limitation than was intended by Congress; and

(8) Congress finds that the current Equal Employment Opportunity Commission ADA
         Case 3:12-cv-00704-SDD-RLB        Document 19-1       10/10/13 Page 4 of 7



regulations defining the term "substantially limits" as "significantly restricted" are

inconsistent with congressional intent, by expressing too high a standard.

(b) Purposes

The purposes of this Act are-

......

(4) to reject the standards enunciated by the Supreme Court in Toyota Motor

Manufacturing, Kentucky, Inc. v. Williams, 534 U.S. 184 (2002), that the terms

"substantially" and "major" in the definition of disability under the ADA "need to be

interpreted strictly to create a demanding standard for qualifying as disabled," and

that to be substantially limited in performing a major life activity under the ADA "an

individual must have an impairment that prevents or severely restricts the individual

from doing activities that are of central importance to most people's daily lives";



(5) to convey congressional intent that the standard created by the Supreme Court in

the case of Toyota Motor Manufacturing, Kentucky, Inc. v. Williams, 534 U.S. 184

(2002) for "substantially limits", and applied by lower courts in numerous decisions,

has created an inappropriately high level of limitation necessary to obtain coverage

under the ADA, to convey that it is the intent of Congress that the primary object of

attention in cases brought under the ADA should be whether entities covered under the

ADA have complied with their obligations, and to convey that the question of whether

an individual's impairment is a disability under the ADA should not demand extensive

analysis; and
              Case 3:12-cv-00704-SDD-RLB            Document 19-1        10/10/13 Page 5 of 7



 (6) to express Congress' expectation that the Equal Employment Opportunity

 Commission will revise that portion of its current regulations that defines the term

 "substantially limits" as "significantly restricted" to be consistent with this Act,

 including the amendments made by this Act.

             In its ruling, the Court states that the plainitff “must have an impairment that prevents

 or severely restricts the individual from doing activities.....” The ADA expressly rejected

 this exact provision that the Court is relying on in its ruling.

             The Court also cites 29 C.F.R. 1630.2 (J) stating that in order for an impairment to

 substantially limit a major life activity, it must significantly restrict the duration, manner, or

 condition...... However, this is also incorrect citing of the law, and this exact CFR provision

 states the following which is not mentioned:

 j) Substantially limits—

 .........

(i) The term “substantially limits” shall be construed broadly in favor of expansive

coverage, to the maximum extent permitted by the terms of the ADA. “Substantially limits”

is not meant to be a demanding standard.

(ii) An impairment is a disability within the meaning of this section if it substantially limits

the ability of an individual to perform a major life activity as compared to most people in the

general population. An impairment need not prevent, or significantly or severely restrict,

the individual from performing a major life activity in order to be considered

substantially limiting.

             Again, the Court used a much higher legal standard than is allowed for determining

whether or not Blackard has a qualified disability, by relying on legislatively overruled case
        Case 3:12-cv-00704-SDD-RLB             Document 19-1        10/10/13 Page 6 of 7



law and incorrect CFR provisions.

       Even more importantly which is not mentioned, 29 C.F.R. 1630.2 (J)(3) states that in

virtually ALL cases, certain impairments are covered under the ADA, including “bipolar

disorder, post-traumatic stress disorder, obsessive compulsive disorder, and schizophrenia

which substantially limit brain function.” It is undisputed that plaintiff was diagnosed with

and has been receiving treatment for bipolar disorder. Therefore, based on this alone, there

should be no question about whether or not plaintiff was actually a qualified disabled

individual under the provisions of the ADA.

       Conclusion

       For the foregoing reasons, in the spirit of fairness and justice, the Court should grant

Plaintiff’s request for a new trial from the Judgment rendered on September 12, 2013.

                                              Respectfully Submitted by:


                                              s/Gregory Miller
                                              Gregory Miller #17059
                                              Miller & Hampton
                                              3960 Government Street
                                              Baton Rouge, LA 70806
                                              Telephone : (225) 343-2205
                                              Facsimile: (225) 343-2870
                                              Email:      gjm@mlhlaw.com
                                              Attorney for Chad Blackard
        Case 3:12-cv-00704-SDD-RLB              Document 19-1   10/10/13 Page 7 of 7



                                CERTIFICATE OF SERVICE



I, Gregory J. Miller, hereby certify that a copy of the foregoing has this day been sent via

electronic filing to counsel of record as follows:

       D. Blayne Honeycutt
       Colt J. Fore
       519 Florida Blvd.
       Denham Springs, LA 70726 .


                                 _____x/Gregory J. Miller___
                                     Gregory J. Miller
